         Case 3:10-cv-02605-RS Document 79 Filed 09/24/10 Page 1 of 2



 1   THOMAS HR DENVER (56872)
     Mediation Masters
 2   96 North Third Street
     Suite 300
 3
     San Jose, CA 95112
 4
     Telephone: (408) 280-7883
 5   Facsimile: (408) 292-7868

 6   Special Master
 7

 8                                 UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11
      LANGUAGE LINE SERVICES, INC.,                      No. C 10-02605 JW
12
                           Plaintiff,                    DISCOVERY REPORT NO. 2
13
        vs.
14

15    LANGUAGE SERVICES ASSOCIATES,
      LLC, et al.,
16
                           Defendants.
17

18            Pursuant to the Order of Appointment, the Special Master files this interim report:
19
              The Special Master continues to meet and confer with counsel.
20

21            Mr. Joel Resnick of Evolver has completed the process of imaging defendants’
22   computers, including those of the individual defendants Schwartz and Curtin. Mr. Resnick
23   is now searching the data with the agreed upon search terms and advises that the data
24   should be available for privilege review during the week of September 27, 2010.
25
              Individual defendants Schwartz and Curtin will have the opportunity to review the
26
     computer data imaged by Mr. Resnick on or about September 30, 2010, so as to be able to
27
     answer certain interrogatories propounded to them by plaintiffs. Those interrogatory
28

                                                   -1-
     DISCOVERY REPORT NO. 1
         Case 3:10-cv-02605-RS Document 79 Filed 09/24/10 Page 2 of 2



 1   answers will be due ten (10) days after Schwartz and Curtin have completed their review of

 2   the data. The parties had agreed to a Protective Order. Magistrate Trumbull found some

 3   inadequacies in that Protective Order and the parties are working to revise it, so as to

 4   satisfy the Magistrate’s Order.

 5
            The Special Master anticipates that within approximately thirty (30) days time,
 6
     privilege logs will have been produced and that he will be in a position to rule on any
 7
     objections to claims of privilege. Following that process, the unprivileged data should be
 8
     available to all parties.
 9

10                                             Respectfully submitted,

11

12

13

14
     Dated: August 9, 2010                          /s/ /Thomas HR Denver
15
                                                   THOMAS HR DENVER
16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  -2-
     DISCOVERY REPORT NO. 1
